          Case 3:18-sw-00119-RCY Document 1 Filed 05/18/18 Page 1 of 12 PageID# 1
AO 106(Rev. 04/10) Application for a Search Warrant



                                     United States District Court
                                                                    for the
                                                                                                                    CITRK. US DiSTRICT COURT
                                                   Eastern District of Virginia

             In the Matter ofthe Search of
         (Briefly describe the property to be searched
          or identify the person by name and address)                             Case No. 3:18sw    IIS
     Information associated with GOOGLE account
 APINERJR(gGMAIL.COM. that is stored at prmieses
           controlled by GOOLE, Inc

                                            APPLICATION FOR A SEARCH WARRANT

        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
            be,searched and give its location):



located in the              Eastem                District of             Virginia            ,there is now concealed (identify the
person or describe the property to be seized)'.
 See Attachment B



          The basis for the search under Fed. R. Grim. P. 41(c) is (check one or more):
                 aTevidence ofa crime;
                 □ contraband, fruits of crime, or other items illegally possessed;
                 □ property designed for use, intended for use, or used in committing a crime;
                 □ a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:

             Code Section                                                         Offense Description
        Title 18 use 2113(a)                       Bank Robbery

        Title 18 use 924(c)                        Use a firearm in a crime of violence, to wit: bank robbery
          The application is based on these facts:
        See attached affidavit.



           fif Continued on the attached sheet.
           □ Delayed notice Of        days (give exact ending date if more than 30 days:                                ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                          signature

                                                                                             TFO Philip Johnakin
                                                                                              Printed name and title


Sworn to before me and signed in my presence.
                                                                              Roderick C. Young
Date:            05/18/2018                                                   United States Magis
                                                                                                Judge's signature

City and state: Richmond, VA                                                  Honorable Roderick 0. Young, U.S. Magistrate Judge
                                                                                              Printed name and title
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                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                       Richmond Division


 IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH
 GOOGLE ACCOUNT:                                              Case No. 3:18SW
 APINERJR@GMAIL.COM THAT IS
 STORED AT PREMISES CONTROLLED
 BY GOOGLE,INC.


                              AFFIDAVIT IN SUPPORT OF AN
                         APPLICATION UNDER RULE 41 FOR A
                           WARRANT TO SEARCH AND SEIZE

       I, Philip Johnakin, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND


       1.     I make this affidavit in support ofan application under Rule 41 ofthe Federal Rules

of Criminal Procedure for a search warrant authorizing the search ofinformation associated with

GOOGLE account APINERJR@GMAIL.COM. and ALLEN EARL PINER Jr., including all

location information.


       2.      Your affiant is a law enforcement officer within the meaning of Title 18, United

States Code, Section 2510(7), that is, an officer of the United States who is empowered by law to

conduct investigations of, and to make arrests for, offenses enumerated in Title 18, United States

Code, Section 2516. I have over eighteen years of law enforcement experience stemming from

employment as a Police Officer with the Henrico County Division of Police. Currently, I am a

duly appointed Task Force Officer with the Federal Bureau of Investigation(FBI) and have been

so since October 2015. I am assigned to the Richmond FBTs Central Virginia Violent Crimes

Task Force and my duties include investigating bank robberies, armored car robberies,


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extraterritorial offenses, kidnappings, armed carjackings and theft ofgovernment property. I have

investigated numerous criminal violations and have obtained arrest and search warrants. I have

personally participated in the investigation set forth below! The crimes I investigate are violent

and usually involve two or more individuals and I am familiar with the methods violent offenders

use to conduct their illegal activities, to include their communication methods.

       3.      This affidavit is intended to show only that there is sufficient probable cause for the

requested warrant and does not set forth all of my knowledge about this matter. The information

provided is based upon my personal knowledge, or that of other sworn law enforcement officers

participating in this investigation.

       4.      This warrant seeks information from Google Account APINERJR@GMA1L.COM

that is stored at a premises controlled by Google, 1600 Amphitheatre Parkway Mountain

View, CA 94043,for dates ranging from June 1, 2017 to October 11, 2017.

                           RELEVANT STATUTORY PROVISIONS


        Bank Robbery: 18 U.S.C. § 2113(a)


        Use of a Firearm In a Crime of Violence: 18 U.S.C. § 924(c)


                                       PROBABLE CAUSE


       5.      The United States is investigating four armed robberies ofbanks within the Eastem

District of Virginia.

       6.      The first robbery took place on June 29, 2017, by a person described as a white

male, 5'07" to 5'09", 1301bs. to 1401bs., 30 to 40 YOA,wearing a black shirt and blue jeans, who

entered the Walmart store, located at 7901 Brook Road, Henrico, VA. At the time, this

UNKNOWN SUBJECT walked around the store for a few minutes before exiting the Walmart
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and entering a vehicle in the parking lot. The UNKNOWN SUBJECT then changed into a red

polo style shirt, light blue polo hat, gloves with black palms, and walked back into the Walmart

store where he approached the counter of the Woodforest National Bank. The UNKNOWN

SUBJECT produced a knife andjumped onto the counter moving towards K.H.,victim bank teller,

who was holding a deposit bag containing approximately $4,073 in United States currency

belonging to Woodforest National Bank. The UNKNOWN SUBJECT said to K.H.,"Give me the

money." K.H. gave the UNKNOWN SUBJECT the bank bag containing the United States

currency and the UNKNOWN SUBJECT fled on foot to his vehicle in the parking lot. The

UNKNOWN SUBJECT fled the parking lot. Woodforest National Bank is insured by the Federal

Deposit Insurance Corporation(FDIC).

       7.     The second robbery took place on September 1,2017. An UNKNOWN SUBJECT

entered the Citizens Bank & Trust,located at 12101 Olivers Way,Chester, VA. The UNKNOWN

SUBJECT made contact with S.I., victim bank teller, and produced a semi-automatic firearm with

his left hand. The UNKNOWN SUBJECT stated, "This is not a joke, give me all the money in

the top drawer, no bait money," and placed his firearm on the bank counter.   The UNKNOWN

SUBJECT was wearing distinctive orange gloves with black palms, and a hat. S.I. complied with

the demands of the UNKNOWN SUBJECT, giving the UNKNOWN SUBJECT approximately

$4,000 in United States currency belonging to Citizens Bank & Trust. The UNKNOWN

SUBJECT then fled on foot into the wood line near the bank. Citizen Bank & Trust is insured by

the Federal Deposit Insurance Corporation(FDIC).

       8.     The third bank robbery took place on September 30, 2017, when an UNKNOWN

SUBJECT entered the Walmart located at 7901 Brook Road, Henrico, VA. The UNKNOWN

SUBJECT walked around the store for a few minutes before approaching the counter of the

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Woodforest National Bank. The UNKNOWN SUBJECT made contact with M.H., victim bank

teller, stated to the teller that this was a robbery, and produced a semi-automatic firearm with his

left hand. The UNKNOWN SUBJECT demanded all ofthe bank's money and laid his firearm on

the bank counter. M.H. stepped back and told the other tellers to give the UNKNOWN SUBJECT

the money. C.M.and K.B.,also tellers, complied with the UNKNOWN SUBJECT'S demands and

each handed over a bank bag containing a total ofapproximately $5,192 in United States currency.

The UNKNOWN SUBJECT then placed the stolen money into a yellow shopping bag he had

brought with him. The UNKNOWN SUBJECT then fled on foot to a burgundy, 1980 Oldsmobile

Cutlass in the parking lot. The UNKNOWN SUBJECT got into his vehicle and fled the parking

lot. Woodforest National Bank is insured by the Federal Deposit Insurance Corporation(FDIC).

       9.      The fourth bank robbery took place on October 11, 2017, when an UNKNOWN

SUBJECT entered the Argent Federal Credit Union located at 1901 Walmart Way, Midlothian,

VA. The UNKNOWN SUBJECT approached V.E., a victim bank teller, and produced a black

semi-automatic firearm with his left hand,and stated,'T want you to give me all your money." V.E.

complied with the UNKNOWN SUBJECT'S demands,removing the credit union's United States

currency from her teller drawer. The UNKNOWN SUBJECT placed his firearm on the counter,

and demanded to be given the "big bills" as well. V.E. gave the UNKNOWN SUBJECT

approximately $2,242 in United States currency and,unbeknownst to the UNKNOWN SUBJECT,

a SSI tracking device. The UNKNOWN SUBJECT placed the stolen currency and tracking

devices into the left pocket of his black hooded sweatshirt, placed his firearm back into his waste-

band,and fled the area on foot. Argent Federal Credit Union is insured through the National Credit

Union Administration(NCUA).
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       10.     Approximately two minutes after the robbery, Chesterfield County Police received

GPS data from the 3SI tracking device that the UNKNOWN SUBJECT took from the Argent

Federal Credit Union. The UNKNOWN SUBJECT was then observed driving a burgundy, 1980

Oldsmobile Cutlass, with Virginia license ZMT-5722, a short driving distance from the Argent

Federal Credit Union. Chesterfield Police attempted to stop the vehicle; however, the

UNKNOWN SUBJECT refused to stop and a pursuit ensued. The UNKNOWN SUBJECT drove

to a fenced area of a construction area and fled on foot with his firearm. Chesterfield County

Police were able to take the UNKNOWN SUBJECT into custody after shooting the UNKNOWN

SUBJECT. Chesterfield Police provided medical treatment to the UNKNOWN SUBJECT and

then transported the UNKNOWN SUBJECT to the hospital for treatment.            The UNKNOWN

SUBJECT was then identified as ALLEN EARL PINER JR., with the address of 7914

Provincetown Dr., Midlothian, VA.

       11.     After PINER's arrest on October 11, 2017, Chesterfield County Police processed

the crime scene, including the vehicle PINER had used during the robbery. As a result.

Chesterfield Police located the firearm PINER used in the robbery. United States currency taken

in the robbery, the 3Si tracking device, and a cellular telephone. Upon review of the surveillance

video of the other bank robberies detailed above, your affiant believes that the UNKNOWN

SUBJECT in all ofthese robberies is, in fact, PINER.

       12.     On October 11, 2017, law enforcement responded to 7914 Provincetown Drive,

Midlothian, VA.     This is the residence of Johany Shackleford, the girlfriend of PINER.

Shackleford told law enforcement that PINER had been living with her for several months and

kept his clothing and tools in the apartment. Shackleford was asked for consent to search her

apartment, which she granted. As a result ofthe search ofthe residence, law enforcement located

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a pair of orange gloves with black palms, which appeared to match the gloves worn by the by the

robber in the Citizens Bank & Trust on September 1,2017.

        13.    On October 20, 2017, a search warrant was executed on a ZTE cellular device

belonging to FINER. As a result of the search of the cellular device, the Google account located

on the cellular device was determined to be APINERJR@GMAIL.COM. This case account was


showing active on the cellular device and had last synced with the Google account on October 11,

2017.


                                          GOOGLE


        14.    In my training and experience, I know that Google asks users to provide basic

contact and personal identifying information to Google, either during the registration process or

thereafter. This information may include the user's full name, birth date, gender, contact e-mail

addresses, Google passwords, Google security questions and answers (for password retrieval),

physical address(including city, state, and zip code),telephone numbers, screen names, websites,

and other personal identifiers.

        15.    Google users can select different levels of privacy for the communications and

information associated with their Google accoimts. By adjusting these privacy settings, a Google

user can make information available only to himself or herself, to particular Google users, or to

anyone with access to the Internet, including people who are not Google users.

        16.    Android OS mobile devices require the user to have a G-Mail or Google account

when activating the devices. As part of the normal operating system of the Google account

operating on the mobile devices, Google collects location information from the mobile devices

based on the location services on the mobile devices and the map services imbedded and used in

the mobile devices. Google uses GPS as well as the nearby cellular towers being used by the

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mobile device. In some cases this information is even available to Google when location services

are disabled. The information is then sent back to Google. The result is that Google has access to

data about the locations and movements of a mobile deice.


        17.    Each Google account has an activity log, which is a list ofthe user's activities from

the inception of the account to the present. The activity log includes email, Chats, Video Calls,

and photos that the user has been in contact with.

        18.    Google also retains Internet Protocol("IP")logs for a given user ID or IP address.

These logs may contain information about the actions taken by the user ID or IP address on Google,

including information about the type ofaction, the date and time ofthe action, and the user ID and

IP address associated with the action. For example, if a user views a Google account, that user's

IP log would reflect the fact that the user viewed the profile, and would show when and from what

IP address the user did so.


        19.    Social networking providers like Google typically retain additional information

about their users' accoxmts, such as information about the length of service (including start date),

the types ofservice utilized. In some cases, Google users may communicate directly with Google

about issues relating to their accounts, such as technical problems, billing inquiries, or complaints

from other users. Social networking providers like Google typically retain records about such

communications, including records of contacts between the user and the provider's support

services, as well as records of any actions taken by the provider or user as a result of the

communications.


       20.     Therefore, the servers of Google are likely to contain all the material described

above, including stored electronic communications and information concerning subscribers and
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their use ofGoogle,such as account access information,transaction information,and other account

information.


               INFORMATION TO BE SEARCHED AND TfflNGS TO BE SEIZED


       21.     I anticipate executing this warrant under the Electronic Communications Privacy

Act,in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using the warrant

to require Google to disclose to the government copies ofthe records and other information

(including the content of communications)from the account described in Attachment A,for the

items particularly described in Attachment B.

                                    CONCLUSION


       22.     Based on the foregoing, I request that the Court issue the proposed search

warrant. This Court has jurisdiction to issue the requested warrant because it is "a court of

competentjurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a),(b)(1)(A)&

(c)(1)(A). Specifically, the Court is "a district court ofthe United States ... that-has

jurisdiction over the offense being investigated." 18 U.S.C. § 271 l(3)(A)(i). Pursuant to 18

U.S.C. § 2703(g), the presence ofa law enforcement officer is not required for the service or

execution ofthis warrant.


                                                  Respectfully submited.



                                                            fbhnakin
                                                  Task Force Officer, FBI



        Subscribed and sworn to before me
        on May 18, 2018:                                                /S/^ /
                                                     Roderick C.Young
                                                     United States Magistrate Jikfge
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                                   ATTACHMENT A


                  DESCRIPTION OF LOCATION TO BE SEARCHED


       This warrant applies to information associated with the Google account of ALLEN EARL

FINER JR., utilizing the Google account identifier: APINERJR@GMAIL.COM, for the time

period of June I, 2017 to October 11, 2017, including the associated location data, private

messenger inbox, which is stored at premises owned, maintained, controlled, or operated by

Google, 1600 Amphitheatre Parkway Mountain View, OA 94043
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                                       ATTACHMENT B


       To the extent that the information described as APINERJR@GMAIL.COM is within the

possession, custody, or control of Google, including any and all location information(GPS, wifi

location, or cellular tower location), messages, records, files, logs, or information that have been

deleted but are still available to Google, or have been preserved pursuant to a request made under

18 U.S.C. § 2703(f), Google is required to disclose the following information to the government

for Google account APrNERJR@GMAIL.COM:


       (a) All contact and personal identif5dng information, including full name, user

identification number, birth date, gender, contact e-mail addresses, Google passwords, Google

security questions and answers, physical address (including city, state, and zip code), telephone

numbers,screen names, websites, and other personal identifiers.


       (b) All activity logs for the accoimt and all other documents showing the user's posts and

other Google activities;


       (c) All photos and videos uploaded by that user ID and all photos and videos uploaded by

any user that have that user tagged in them;


       (d) All private messenger/ Google Hangouts "Chats" that contain any location data or

information.



       (e) All profile information; News Feed information; status updates; links to videos,

photographs, articles, and other items; Notes; Wall postings; fnend lists, including the friends'

Google user identification numbers;groups and networks of which the user is a member,including



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the groups' Google group identification numbers and information about the user's access and use

of Google applications;


         (f) All other records of communications and messages made or received by the user,

including all private messages, chat history, video calling history, and emails;


         (g)All "check ins" and other location information;


         (h) All IP logs, including all records ofthe IP addresses that logged into the account;


         (i)The types of service utilized by the user;


         (j) The length of service (including start date) and the means and somce of any payments

associated with the service (including any credit card or bank account number);


         (k)All privacy settings and other account settings,including privacy settings for individual

Google posts and activities, and all records showing which Google users have been blocked by the

account;



         (1) All records pertaining to communications between Google and any person regarding the

user or the user's Google account, including contacts with support services and records of actions

taken.



         (m) All location history to include but not limited to GPS, wifi connection points, cell

tower, and any other location information with date and timestamps.




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